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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                             CRIMINAL MINUTES - GENERAL



 Case No.          CR 14-499 PA -1                                                           Date     August 15, 2018


 Present: The Honorable        PERCY ANDERSON, U.S. DISTRICT JUDGE
 Interpreter       Mandarin : Yong Jia Johnston
                                                                                                    John Kucera
       Kamilla Sali-Suleyman                        Phyllis Preston                                 Vicki Chou
                Deputy Clerk              Court Reporter/Recorder, Tape                      Assistant U.S. Attorney


                U.S.A. v. Defendant(s):           Present Cust. Bond       Attorneys for Defendants:        Present App. Ret.

1) Xilin Chen                                       /            /      Victor Sherman,                           /              /



 Proceedings:           SENTENCING (not held)

         Cause called; appearances made. The matter is continued to August 16, 2018, at 3:30 p.m.




                                                                                                             :        42
                                                                  Initials of Deputy Clerk                KSS
cc: USMS, BOP, USPO




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